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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                             CASE NO: 2:15-cr-146-FtM-UACM

BRADLEY WES GAMBILL,
TAYLOR MARIE AMMONS, and
DOMINIC MAURICE LYNCH

_______________________________/

                                                ORDER 1

        This matter comes before the Court on Defendants Bradley Gambill, and Dominic

Maurice Lynch’s Motions to Sever Defendants for Trial (Docs. #122, #127), filed

respectively on September 4, 2016 and September 8, 2016. The Government filed its

Response in Opposition (Doc. #133) on September 14, 2016. The Court held a hearing

on September 15, 2016. Therefore, this matter is now ripe for review.

                                            BACKGROUND

        On August 26, 2015, the Cape Coral Police Department executed a search warrant

on a home owned by Gambill, and seized evidence of the manufacture, possession, and

concealment of counterfeit currency. Specifically, said evidence was found in a bedroom

Gambill shared with Defendant Taylor Marie Ammons. At the time, Lynch also resided in

the home along with Ammons’ mother, and an individual named Billy Stone.                                 All

Defendants initially denied involvement in any criminal activity.


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       Forensic analysis subsequently revealed that Gambill’s fingerprints were found on

the printer, uncut sheets of counterfeit currency, and on scraps of the discarded cuttings

from the manufacture of counterfeit currency. Ammons’ fingerprints were also found on

the printer tray, counterfeit currency, and discarded counterfeit currency scraps located

in a plastic bag. Finally, Lynch’s fingerprints were found on the counterfeit currency, uncut

sheets of counterfeit currency, and on discarded counterfeit currency scraps in a plastic

bag.

       Gambill, Ammons and Lynch were indicted on October 14, 2015 on two counts

sounding in manufacturing counterfeit reserve notes in violation of 18 U.S.C. § 471 and

possession of counterfeit reserve notes in violation of 18 U.S.C. § 472. Thereafter, and

in the presence of her attorney, Ammons gave a recorded statement incriminating herself,

Gambill, Lynch and Stone. In turn, and in the presence of his attorneys, Gambill gave a

recorded statement incriminating himself, Ammons, Lynch and Stone. Lynch did not give

a statement to law enforcement.

       Gambill and Lynch now seek to sever their trials on the basis that the recorded

statements given by Gambill and Ammons may prejudice the defense of their case.

(Docs. #122 at 2-3, #127 at 3). Lynch also argues that severance is warranted because

the parties could offer mutually exclusive and irreconcilable defenses at trial. (Doc. #127

at 4-5). The Government argues that severance is unnecessary. They assert that they

will not seek to introduce the recorded statements given by Gambill and Ammons during

their case-in-chief. They further argue Defendants cannot show compelling prejudice as

a result of a joint trial. (Doc. #133 at 9).




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                                       DISCUSSION

       Gambill and Lynch move to sever the trials based on Federal Rule of Criminal

Procedure 14(a), and their Sixth Amendment right to confrontation. (Docs. #122 at 2-3,

#127 at 3). For his part, Gambill argues that if Ammons does not testify, the introduction

of her incriminating recorded statement against him would be impermissible because it

would constitute hearsay, and that even if an exception did exist, any introduction would

deprive him of his Sixth Amendment right of confrontation if she did not testify at trial.

(Doc. #122 at 2-3). In more depth, Lynch echoes these arguments and also avers that

severance should be mandated because each co-defendant may maintain mutually

antagonistic and irreconcilable defenses. (Doc. #127 at 3-5).

       In opposition, the Government states that severance is unnecessary because it

does not intend to elicit testimony regarding the recorded statements during its case-in-

chief – a move they argue moots the Sixth Amendment concerns raised in Defendants’

Motions. (Doc. #133 at 9). They also argue that Lynch has failed to demonstrate

compelling prejudice that would occur if the Defendants’ trials were not severed. Id. The

Court agrees.

       Rule 8(b) of the Federal Rules of Criminal Procedure states that multiple co-

defendants may be charged together “if they are alleged to have participated in the same

act or transaction, or in the same series of acts or transactions, constituting an offense or

offenses.” Fed. R. Civ. P. 8(b). “There is a preference in the federal system for joint trials

of defendants who are indicted together.” Zaifro v. U.S., 506 U.S. 534, 537 (1993). This

preference exists because joint trials “play a vital role in the criminal justice system.” Id.




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(citations omitted). Joint trials “promote efficiency and serve the interests of justice by

avoiding the scandal and inequity of inconsistent verdicts.” Id. (citations omitted).

        Conversely, Rule 14 of the Federal Rules of Criminal Procedure allows joined

parties to be severed where such a condition “appears to prejudice a defendant, or the

government.” Fed. R. Crim. Pro. 14(a). In this scenario, “the court may order separate

trials of counts, sever the defendants’ trials, or provide any other relief that justice

requires.” Id. This occurs where “there is a serious risk that a joint trial would compromise

a specific trial right of one of the defendants, or prevent the jury from making a reliable

judgment about guilt or innocence.” Zaifro, 506 U.S. at 539. These risks, though, are

rare. See United States v. Lopez, 649 F.3d 1222, 1234 (11th Cir. 2011). “A defendant

seeking a severance must carry the heavy burden of demonstrating [that] compelling

prejudice would result from a joint trial.” Id. That is, “a defendant must establish that a

joint trial would actually prejudice the defendant and that a severance is the only proper

remedy for that prejudice—jury instructions or some other remedy short of severance will

not work.” Id. Similarly, “it is well settled that defendants are not entitled to severance

merely because they may have a better chance of acquittal in separate trials.” Zaifro, 506

U.S. at 540.

   I.      Severance as a Result of Sixth Amendment Concerns.

        Gambill and Lynch aver that their trials should be severed because their sixth

amendment rights to confrontation of the witnesses presenting evidence against them

would be violated by the Government’s introduction of the recorded statements as

evidence and either Gambill’s or Ammons’ subsequent decision not to testify at trial.

Specifically, Gambill argues that if Ammons does not testify and the government




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introduces evidence of her recorded incriminating statement as evidence against him, it

would not only be hearsay, but if any exception were found, it would deny Gambill a right

of cross examination under the Sixth Amendment. In step, Lynch argues that if both

Gambill’s and Ammons’ incriminating statements are introduced, he will be unfairly

prejudiced by an inability to cross examine either of them.

       In support of their arguments, Gambill and Lynch cite to Bruton v. United States,

391 U.S. 123 (1968). There, two co-defendants, Evans and Bruton, were accused of

armed postal robbery. Bruton, 391 U.S. at 124. At trial, Evans did not take the stand. Id.

at 128. Nevertheless, a postal inspector testified for the government that Evans had orally

confessed that he and Bruton had committed the armed robbery. Id. at 124. Despite

being instructed that they were to disregard Evans’ incriminatory confession as

inadmissible hearsay when considering Bruton’s guilt, both Evans and Bruton were

convicted. Id. at 124-125. Bruton appealed his conviction. After granting certiorari, the

Supreme Court held that “because of the substantial risk that the jury, despite instructions

to the contrary, looked to the incriminating extrajudicial statements in determining

[Bruton’s] guilt, admissions of Evans’ confession in [a] joint trial violated [Bruton’s] right of

cross-examination secured by the Confrontation Clause of the Sixth Amendment.” Id. at

126. The Court further explained that prohibitive jury instructions were not an adequate

substitute for the constitutional right of cross examination because, “[a] jury cannot

segregate evidence into separate intellectual boxes.             It cannot determine that a

confession is true insofar as it admits that A has committed criminal acts with B and at

the same time ignore the inevitable conclusion that B has committed those same criminal

acts as A.” Id. at 131.




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         The Government avers that although it has disclosed the recorded statements of

Gambill and Ammons, it does not intend to introduce these statements at trial. (Doc. #133

at 7). That being the case, the scenario upon which Defendants base their Bruton

argument has not yet occurred. Thus, the Court need not inquire further, as until the

Government seeks to introduce the recorded incriminating statements, the issue is not

yet ripe for a decision.

   II.      Severance as a Result of Disparate Arguments at Trial.

         Lynch also argues that trial should be severed because the parties could assume

antagonistic positions in front of a jury. (Doc. #127 at 4). In support, Lynch cites to U.S.

v. Berkowitz, 662 F. 2d 1127 (5th Cir. 1981) to allege that severance is required where

defenses are so antagonistic as to be mutually exclusive or irreconcilable. (Doc. #127 at

4). This reliance is in error, as the Supreme Court in Zaifro contemplated that exact

principle, explicitly mentioned Berkowitz, and elected not to adopt such a bright line rule.

Zaifro, 506 U.S. at 538-539. Instead, Zaifro held that “[m]utually antagonistic defenses

are not prejudicial per se. Moreover, Rule 14 does not require severance even if prejudice

is shown; rather, it leaves the tailoring of the relief to be granted, if any, to the district

court’s sound discretion.” Id.

         Lynch argues that the trial should be severed because the jury will be confused by

the potential of three competing narratives being offered at trial, including Gambill and

Ammons’ similar accounting of the events leading to indictment, the Government’s

allegation that Lynch was a participant in the manufacture and possession of counterfeit

currency, and Lynch’s anticipated defense that he was not involved. The Court is not

persuaded that these circumstances will result in a level of confusion that would overcome




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the preference to try the parties jointly. Id. at 537. While the risk of prejudice is heightened

when “many defendants are tried together in a complex case and they have markedly

different degrees of culpability[,]” this scenario simply does not present itself here. See

id.

        First, this case does not present a voluminous number of defendants that would

require severance. It is well established that severance is appropriate where “the sheer

number of defendants and charges with different standards of proof and culpability, along

with the massive volume of evidence, makes it nearly impossible for a jury to juggle

everything properly and assess the guilt or innocence of each defendant independently.”

U.S. v. Blankenship, 382 F. 3d 1110, 1124 (11th Cir. 2004). The Court cannot reasonably

hold that three (3) defendants, all charged with the same counts, can meet this threshold.

This is particularly true in light of the fact that none of the parties have argued that this

case will present a substantial evidentiary volume.

        Second, the mere fact that the parties may offer differing accounts at trial of the

activities leading to indictment does not so far submerge the consciousness of the jury as

to prejudice Lynch and necessitate severance. Our justice system is structured to handle

this very issue as most, if not all, trials present differing portrayals of fact. And, the Court

has the inherent power to manage a trial in the event that issues of potential prejudice

arise. If it is necessary for a jury to render an effective verdict, the parties may move the

Court for specific relief, and at such time, the merits of such motions will be considered.

This is well in line with established precedent. 2



2 “When the risk of prejudice is high, a district court is more likely to determine that separate trials are

necessary, but . . . less drastic measures, such as limiting instructions, often will suffice to cure any risk of
prejudice.” Zaifro, 506 U.S. at 538 (citation omitted).




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       Finally, the Court finds that the differing accounts of the parties at trial are unlikely

to confuse the jury in a substantially prejudicial manner because they will not be forced

to listen to the parties’ arguments in abstraction, and instead will be free to concurrently

weigh the evidence presented. The charges faced by the Defendants - manufacture and

possession of counterfeit currency - are not so complex that a jury would be prevented

from rendering a reliable verdict upon consideration of competing narratives and the

introduction and consideration of evidence.

       In light of these findings, Lynch has not alleged facts that would give rise to

compelling prejudice that would occur if trial in this matter were to remain joint.

       Accordingly, it is now

       ORDERED:

       1. Defendant Bradley Wes Gambill’s Motion to Sever Defendants for Trial (Doc.

          #122) is DENIED.

       2. Defendant Dominic Maurice Lynch’s Motion to Sever Defendants for Trial (Doc.

          #127) is DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this September 20, 2016.




Copies: Counsel of Record




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